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  7    Attorneys for Defendant
       OMNI HOTELS MANAGEMENT
  8    CORPORATION
  9                                UNITED STATES DISTRICT COURT
 10                             SOUTHERN DISTRICT OF CALIFORNIA
 11
 12    ALLEN HARVEY ABOLAFIA,                    Case No. 19-cv-01923-W-KSC
                                                 Judge: Hon. Thomas J. Whelan
 13                       Plaintiff,
                                                 DECLARATION OF MATTHEW L.
 14              v.                              GREEN IN OPPOSITION TO
                                                 PLAINTIFF ALLEN HARVEY
 15    OMNI HOTELS MANAGEMENT                    ABOLAFIA’S MOTION FOR
       CORPORATION; and DOES 1 TO                SUMMARY JUDGMENT
 16    20, inclusive,
                                                 Date: July 20, 2020
 17                       Defendants.            Dept.: Courtroom 3C (3rd Floor)
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                                                       DECL. OF MATTHEW L. GREEN IN OPP’N TO
      61746.00003\33053488.1                   -1-                         MOT. FOR SUMM. J.
                                                                             10-CV-01923-w-ksc
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  1            I, Matthew L. Green, declare as follows:
  2            1.        I have personal knowledge of the following facts and if called to testify,
  3   I would and could testify competently thereto.
  4            2.        I am an attorney at law duly licensed to practice before all courts in the
  5   State of California. I am an attorney at Best Best & Krieger LLP, attorneys of record
  6   for Defendant Omni Hotels Management Corporation (“Omni”) in the above-
  7   captioned action. As one of Omni’s attorneys in this action, I am familiar with the
  8   proceedings therein and the documents and records relating thereto maintained in my
  9   office in connection therewith.
 10            3.        On or about August 9, 2019, Omni served Special Interrogatories (Set
 11   One) on Plaintiff Allen Harvey Abolafia (“Plaintiff”), verified response to which
 12   were served by Plaintiff on or about September 5, 2019. A true and correct copy of
 13   excerpts of Plaintiff’s Responses to Special Interrogatories Propounded by Omni is
 14   attached as Exhibit “A” hereto.
 15            4.        On or about January 17, 2020, Plaintiff served Request for Admissions
 16   on Omni (Set No. One), verified responses to which were served by Omni on or about
 17   March 13, 2020. A true and correct copy of excerpts of Omni’s Response to
 18   Plaintiff’s Request for Admissions (Set One) is attached as Exhibit “B” hereto.
 19            5.        On February 19, 2020, I took the deposition of Plaintiff in the above-
 20   captioned action. Attached as Exhibit “C” hereto is a true and correct copy of excerpts
 21   of the transcript of Plaintiff’s deposition, including Exhibits “2” through “6”,
 22   Exhibits “8” through “11”, and Pages A-9 and A-14 of Exhibit “13” thereto.
 23            6.        In its original Answer, as its ninth affirmative defense, Omni alleged
 24   that “[a]ny damages Plaintiff may have sustained were the result, in whole or in part,
 25   of conduct by other parties for whom Omni is not legally responsible.” (Doc. 1-2,
 26   Ex. C at 3:19-20.) Plaintiff filed a motion for judgment on the pleadings challenging
 27   the sufficiency of Omni’s affirmative defenses, including the foregoing third party
 28   defense. (Docs. 7, 8.) After meeting and conferring regarding the motion, and
                                                               DECL. OF MATTHEW L. GREEN IN OPP’N TO
      61746.00003\33053488.1                        -2-                            MOT. FOR SUMM. J.
                                                                                     10-CV-01923-w-ksc
Case 3:19-cv-01923-W-KSC Document 14-1 Filed 07/06/20 PageID.207 Page 3 of 168



  1   pursuant to the joint motion of the parties, the hearing on the motion for judgment on
  2   the pleadings was vacated, and the Court granted Omni leave to file a First Amended
  3   Answer, which Omni filed on April 27, 2020. (Docs. 9-10, 12.)
  4            7.        Omni amended the third party defense, now identified as its fourth
  5   affirmative defense, to allege that “insofar as Plaintiff alleges his damages resulted
  6   from the negligent design or construction of the arched concrete bridge located on
  7   the golf cart path between the sixth hole and the tee box for the seventh hole of the
  8   Legends Course, said bridge was designed and constructed by Hoagland and Sons
  9   Concrete, not Omni.” (Doc. 12 at 7:24-28.)
 10            8.        During the parties’ meet and confer regarding the motion for judgment
 11   on the pleadings, I informed Plaintiff’s counsel by email on March 20, 2020, that the
 12   third party defense was “only alleged insofar as Plaintiff may claim the bridge was
 13   negligently designed or constructed[,]” but that Omni would remove the defense “if
 14   [Plaintiff] is not alleging negligent design or construction of the bridge[.]” Having
 15   received no response to Omni’s offer, and in order to preserve its third party defense,
 16   the defense was included in the First Amended Answer. Despite the foregoing
 17   exchange, Plaintiff now moves for summary judgment on the third party defense on
 18   the ground that Omni fails to allege sufficient facts to support the defense, among
 19   other grounds. (Doc. 13-1 at 8:9-23.)
 20            9.        On or about June 12, 2020, four days before filing his motion for
 21   summary judgment, Plaintiff served a Notice of Deposition of Person(s) Most
 22   Knowledgeable (“PMK(s)”) at Hoagland & Sons Concrete (“Hoagland”) for July 22,
 23   2020, a true and correct copy of which is attached as Exhibit “D” hereto. The topics
 24   on which Hoagland’s PMK(s) will be deposed specifically include the design and
 25   construction of the bridge located between the sixth hole and seventh tee box on the
 26   Legends Course at the Club at La Costa. Because Omni’s third party defense is
 27   largely dependent on the what evidence may be discovered at the deposition of
 28   Hoagland’s PMK(s), and such evidence may demonstrate that Plaintiff is not entitled
                                                            DECL. OF MATTHEW L. GREEN IN OPP’N TO
      61746.00003\33053488.1                      -3-                           MOT. FOR SUMM. J.
                                                                                  10-CV-01923-w-ksc
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  1   to judgment as a matter of law on said defense, Omni requests that the Court defer or
  2   deny the motion under Federal Rule of Civil Procedure 56(d) in order to allow for
  3   the deposition to be completed.
  4            I declare under penalty of perjury that the foregoing is true and correct.
  5            Executed this 6th day of July, 2020, at San Diego, California.
  6
  7
  8                                                    ______________________________
                                                       MATTHEW L. GREEN
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                                                           DECL. OF MATTHEW L. GREEN IN OPP’N TO
      61746.00003\33053488.1                     -4-                           MOT. FOR SUMM. J.
                                                                                 10-CV-01923-w-ksc
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                       EXHIBIT A
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Case 3:19-cv-01923-W-KSC Document 14-1 Filed 07/06/20 PageID.215 Page 11 of 168




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                       EXHIBIT B
                                                                                  B-1
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                       EXHIBIT C
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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF CALIFORNIA

        ALLEN HARVEY ABOLAFIA,       ) Case No.
                                     ) 19-cv-01923 W-KSC
                                     )
                Plaintiff,           )
                                     )
            v.                       )
                                     )
        OMNI HOTELS MANAGEMENT       )
        CORPORATION; and DOES 1 TO   )
        20, inclusive,               )
                                     )
                                     )
               Defendants.           )
        _____________________________)




                DEPOSITION OF ALLEN HARVEY ABOLAFIA
                       La Jolla, California
                         February 19, 2020




            REPORTED BY:    BOBBIE HIBBLER, CSR NO. 12475




                                                                             C-2
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                             Allen Abolafia, 2/19/2020

    1              UNITED STATES DISTRICT COURT
    2             SOUTHERN DISTRICT OF CALIFORNIA
    3
    4   ALLEN HARVEY ABOLAFIA,       ) Case No.
                                     ) 19-cv-01923 W-KSC
    5                                )
                Plaintiff,           )
    6                                )
            v.                       )
    7                                )
        OMNI HOTELS MANAGEMENT       )
    8   CORPORATION; and DOES 1 TO   )
        20, inclusive,               )
    9                                )
                                     )
   10          Defendants.           )
        _____________________________)
   11
   12
   13
   14                 DEPOSITION OF ALLEN HARVEY
   15   ABOLAFIA, taken by the Defendants, commencing at
   16   the hour of 10:15 a.m. on Wednesday, February 19,
   17   2020, at 7855 Ivanhoe Avenue, Suite 408, La Jolla,
   18   California, before Bobbie Hibbler, Certified
   19   Shorthand Reporter in and for the State of
   20   California.
   21
   22
   23
   24
   25




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                             Allen Abolafia, 2/19/2020

    1   APPEARANCES
    2   For the Plaintiff:
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    3      BY: ROBERT PECORA, ESQ.
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           La Jolla, California 92037
    5      858-454-4014
    6
    7   For the Defendants:
           BEST, BEST & KRIEGER, LLP
    8      BY: MATTHEW GREEN, ESQ.
           655 West Broadway
    9      Suite 15th Floor
           San Diego, California 92101
   10      619-525-1300
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                             Allen Abolafia, 2/19/2020

    1                       EXAMINATION INDEX
    2
    3   ALLEN HARVEY ABOLAFIA
            BY MR. GREEN . . . . . . . . . . . . .                  6
    4
    5
    6
    7
    8                     EXHIBIT INDEX
    9   EXHIBIT            DESCRIPTION                                  PAGE
   10    1    AMENDED NOTICE OF DEPOSITION OF                            15
              ALLEN HARVEY ABOLAFIA
   11
         2     LETTER TO MR. ABOLAFIA                                    17
   12
         3     SIGNATURE MEMBERSHIP PLAN                                 20
   13
         4     SIGNATURE SPORT MEMBERSHIP APPLICATION                    23
   14
         5     2006 AMENDED AND RESTATED RULES AND                       29
   15          REGULATIONS
   16    6     PHOTOGRAPHS                                               37
   17    7     PHOTOGRAPH                                                39
   18    8     LA COSTA GOLF INVOICES                                    40
   19    9     RECEIPT FROM LA COSTA GOLF                                41
   20    10    COMPUTER PRINTOUT FROM LA COSTA                           48
   21    11    OMNI HOTELS & RESORTS INCIDENT REPORT                     75
   22    12    PHOTOGRAPH                                                78
   23    13    PHOTOS OF LOCATION/PHOTOS OF LOCATION                     80
               FIXED
   24
         14    MEDICAL RECORD                                           114
   25




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                             Allen Abolafia, 2/19/2020

    1                         EXHIBIT INDEX
    2                           (CONTINUED)
    3   EXHIBIT                  DESCRIPTION                        PAGE
    4    15    MEDICAL RECORD FROM
               SCRIPPS ENCINITAS                                    117
    5

         16    MEDICAL RECORD FROM
    6          SCRIPPS ENCINITAS                                    127
    7    17    LETTER DATED JANUARY 4, 2019                         141
    8    18    VERIFICATION PAGES                                   147
    9

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   25   COURT REPORTER'S CERTIFICATE..................155



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                              Allen Abolafia, 2/19/2020

    1                      ALLEN HARVEY ABOLAFIA,
    2   having been first duly sworn, was examined and
    3   testified as follows:
    4                          EXAMINATION
    5   BY MR. GREEN:
    6          Q.   Mr. Abolafia, could you state and spell
    7   your full name for the record?
    8          A.   It's Allen H. Abolafia.
    9          Q.   And could you spell Abolafia?
   10          A.   A-B-O-L-A-F-I-A.
   11          Q.   And what does the H stand for?
   12          A.   Harvey.
   13          Q.   Okay.     Have you ever had your deposition
   14   taken before?
   15          A.   Yes.
   16          Q.   How many times?
   17          A.   Probably once or twice.
   18          Q.   When was the last one?
   19          A.   Probably about 12 years ago.              I'm just
   20   guessing.
   21          Q.   It's fine.      It's an estimate 12 years
   22   ago?
   23          A.   Yes.
   24          Q.   Do you recall what the nature of the
   25   proceeding was you were deposed in?



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                              Allen Abolafia, 2/19/2020

    1          Q.   Retire?
    2          A.   Retired.     Actually I went on disability
    3   also.
    4          Q.   Okay.     What were you on disability for?
    5          A.   I have some major heart disease.
    6          Q.   We can talk about that a little bit.
    7          A.   Okay.
    8          Q.   Anything else in your employment
    9   history?
   10          A.   That's pretty much it.
   11          Q.   Have you been retired since 2006?
   12          A.   Yes.
   13          Q.   Okay.     How long you been playing golf
   14   for?
   15          A.   I've played golf since I was probably a
   16   kid, but I played once a year.              I didn't start
   17   really playing golf until I was in my early 50s.
   18          Q.   How many years ago was that?
   19          A.   Fifteen.
   20          Q.   Just a couple; right?
   21          A.   Fifteen.
   22          Q.   So you say you really started playing 15
   23   years ago, so roughly 2005?
   24          A.   Yeah.     2005, 2006.
   25          Q.   Okay.     And at that time how often were



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                             Allen Abolafia, 2/19/2020

    1   you playing golf?
    2        A.   After the fact or --
    3        Q.   2005 or 2006.
    4        A.   I was playing two times a week.
    5        Q.   How long did that last you were playing
    6   two times a week?
    7        A.   Up until now.
    8        Q.   You're still playing generally two times
    9   a week?
   10        A.   Two to three times, yes.
   11        Q.   Okay.     I'm going to mark as Exhibit 1
   12   and ask you if you have seen this before?
   13        A.   I haven't seen it.
   14             (WHEREUPON, THE ABOVE-MENTIONED DOCUMENT
   15   WAS MARKED AS EXHIBIT NO. 1 TO THE TESTIMONY OF
   16   THE WITNESS AND IS ATTACHED HERETO.)
   17   BY MR. GREEN:
   18        Q.   It's fine.       It's just your deposition
   19   notice and what compelled you to appear today.
   20        A.   Okay.
   21        Q.   You can put it to the side.
   22             When is the first time you played golf
   23   at La Costa?
   24        A.   Again, estimate I think 2007.
   25        Q.   At some point you became a member of the



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                              Allen Abolafia, 2/19/2020

    1   golf club --
    2        A.     Right.
    3        Q.     Just let me finish so we don't talk over
    4   each other.        It's for her benefit.
    5        A.     That's fine.
    6        Q.     2007 you said?
    7        A.     Yes.
    8        Q.     Had you been a member of any other golf
    9   club prior to La Costa?
   10        A.     Yes.
   11        Q.    Where?
   12        A.     In Vegas.
   13        Q.     In Vegas?
   14        A.     Uh-huh (affirmative response).
   15        Q.    More than one?
   16        A.     Yes.
   17        Q.     Half dozen?
   18        A.     Half dozen.
   19        Q.     Okay.    What is the reason you became a
   20   member of La Costa?
   21        A.     It's a great club, excellent club.                But
   22   I like the people there.           It had 36 holes.          And I
   23   had a home overlooking the golf course.
   24        Q.     So the first time you played there was
   25   2007.     Do you recall when you became a member of



                                                                             16
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                                                                                  C-10
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                              Allen Abolafia, 2/19/2020

    1   La Costa?
    2        A.     I think right afterwards I got -- I went
    3   to sales and they gave me a free round to try to
    4   entice me to buy it.         And I think I joined the
    5   same day actually.
    6        Q.     Do you remember how many times you had
    7   played the course before you became a member?
    8        A.     I think just once.
    9        Q.     Was that your free round that you got?
   10        A.     Yes.
   11        Q.     I am going to mark next in order Exhibit
   12   2.   If you could take a look at this and just let
   13   me know if you have seen this document before?
   14        A.     I have not seen this document.
   15               (WHEREUPON, THE ABOVE-MENTIONED DOCUMENT
   16   WAS MARKED AS EXHIBIT NO. 2 TO THE TESTIMONY OF
   17   THE WITNESS AND IS ATTACHED HERETO.)
   18   BY MR. GREEN:
   19        Q.     If you turn to the third page, it's a
   20   four-page document and tell me if any of the
   21   information on there looks familiar to you?                  This
   22   is starting "As we enter the New Year, I would
   23   like to update with a you membership pricing dues
   24   and fees 2007."       Do you see that?
   25        A.     Yes.



                                                                            17
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                                                                                 C-11
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                             Allen Abolafia, 2/19/2020

    1        Q.   Does any of that look familiar to you
    2   that you have seen before?
    3        A.   This looks familiar to me.
    4        Q.   Okay.     Do you think it's something you
    5   would have seen at the time you applied to be a
    6   member in 2007 if you recall?
    7             MR. PECORA:       And only if you recall.               If
    8   you recall seeing this specific document or this
    9   specific information, tell him.
   10        A.   I got to be honest I don't recall seeing
   11   this.
   12   BY MR. GREEN:
   13        Q.   And if you don't --
   14        A.   I don't recall seeing it.
   15        Q.   Okay.     Do you know what type of
   16   membership it is that you had at La Costa?
   17        A.   I don't.
   18        Q.   Okay.     So if I asked you if you had the
   19   Signature Sport Membership with a 15,000 deposit,
   20   would you know if you had that or not?
   21        A.   I don't know what the membership was
   22   called.   Originally I had where I paid 25,000 to
   23   join, and then they upgraded me to 50,000.                  And
   24   what she did to entice me to do it was to give me
   25   free locker, free cart.         And I'm trying to



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                              Allen Abolafia, 2/19/2020

    1   remember.     That's all I can remember.
    2        Q.     So your recollection is back in 2007
    3   when you became a member that your deposit was
    4   50,000?
    5        A.     Yes.    Originally I paid 25,000 and then
    6   increased it another 25,000.
    7        Q.     At the same time or subsequently?
    8        A.     Subsequently later.
    9        Q.     You said with that type of membership
   10   you got a free locker; correct?
   11        A.     Free locker, free -- I didn't have to
   12   pay for the bags and I didn't have to pay for the
   13   cart.
   14        Q.     Was this for lifetime?
   15        A.     Yes.
   16        Q.     Okay.    Do you pay green fees as part of
   17   that membership?
   18        A.     No.
   19        Q.     Is there any other additional fees that
   20   you have to pay --
   21        A.     There are no additional fees.              I'm
   22   sorry.
   23        Q.     No problem.      Are there any other
   24   additional fees that you pay on top of that when
   25   you want to golf at La Costa?



                                                                       19
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                                                                            C-13
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                              Allen Abolafia, 2/19/2020

    1         A.    No.
    2         Q.    So under that membership everything is
    3   covered essentially?
    4         A.    Yes.
    5         Q.    Okay.    I'm going to mark next in order a
    6   document entitled Signature Membership Plan with a
    7   date of March 2006 and ask you to take a look at
    8   it.    My question for you is have you seen this
    9   document before?
   10         A.    I don't recall if I have seen this
   11   document.     But there are a lot of things in here
   12   that was told to me.
   13               MR. PECORA:      He doesn't want to know
   14   anything that I have told you about, and I believe
   15   you don't want to discuss with him my showing him
   16   the document.
   17               (WHEREUPON, THE ABOVE-MENTIONED DOCUMENT
   18   WAS MARKED AS EXHIBIT NO. 3 TO THE TESTIMONY OF
   19   THE WITNESS AND IS ATTACHED HERETO.)
   20   BY MR. GREEN:
   21         Q.    That's correct.
   22               My only question for you right now is
   23   have you seen it before, if you recall?
   24         A.    Okay.    I don't recall.
   25         Q.    Okay.    I want you to go back to January



                                                                       20
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                              Allen Abolafia, 2/19/2020

    1        Q.     Okay.    Are those extra terms the locker,
    2   the golf cart, the bag, for example?
    3        A.     Yes.
    4        Q.     Which were things to your knowledge that
    5   she was throwing in in addition to entice you to
    6   upgrade your membership?
    7        A.     Yes.
    8        Q.     Do you recall seeing any other documents
    9   that day?
   10        A.     I don't recall.
   11        Q.     So you may have received them but you
   12   just don't remember sitting here today whether you
   13   did or you didn't?
   14        A.     I don't remember.
   15        Q.     Okay.    You can put that aside.            I will
   16   mark next in order this is Exhibit No. 4.                    If you
   17   could take a look at Exhibit No. 4 and tell me if
   18   you have seen this document before today?
   19        A.     I'm going to say I don't remember.                 But
   20   there are some things in here that were correct in
   21   stating.     The only thing that I'm confused about
   22   is -- again, I might have been wrong and I might
   23   have added 35,000.        It might have been initial
   24   15,000 and then 35,000.          But it was a total of
   25   50,000.     And the other thing is that this



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    1   signature is not mine.
    2                (WHEREUPON, THE ABOVE-MENTIONED DOCUMENT
    3   WAS MARKED AS EXHIBIT NO. 4 TO THE TESTIMONY OF
    4   THE WITNESS AND IS ATTACHED HERETO.)
    5   BY MR. GREEN:
    6         Q.     Let's start at the first page.              It says
    7   017088.      Is that a membership number that you
    8   have?      On the first page, very front page.
    9         A.     No.     That is not my membership number.
   10         Q.     Do you have any idea what that number
   11   is?
   12         A.     Yes.
   13         Q.    What is it?
   14         A.     It's -- my membership number is 071000.
   15         Q.     Okay.     I asked a bad question.           Do you
   16   know what this number 017088 is?
   17         A.     I have no idea.
   18         Q.     Okay.
   19               MR. PECORA:       Could we stop for just a
   20   moment.      I stepped out of the room to get a pen.
   21   What was your number?
   22                THE WITNESS:       071000.
   23               MR. PECORA:       I'm sorry, excuse me.
   24               MR. GREEN:       No problem.
   25   BY MR. GREEN:



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    1        A.   Yes.
    2        Q.   Is that a club in Las Vegas?
    3        A.   Yes.
    4        Q.   Are you still a member of Spanish
    5   Trails?
    6        A.   No.
    7        Q.   If we turn to the last page, and you
    8   mention this two minutes ago, it identifies a
    9   membership deposit of $15,000.             Do you see that?
   10        A.   Yes.
   11        Q.   Does that refresh your recollection as
   12   to what at least the initial deposit was?
   13        A.   Yes.
   14        Q.   Okay.     Applicant signature, do you see
   15   that?
   16        A.   Yes.
   17        Q.   Is that your signature?
   18        A.   No.
   19        Q.   Do you know whose signature that is?
   20        A.   I have no idea.         It looks like -- can I
   21   answer this question?         It looks like somebody was
   22   trying to duplicate my signature because my F's go
   23   down, and this one goes up.           It's kind of -- but
   24   it's not my signature.         Now the girl that signed
   25   it, that was my sales girl.



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                              Allen Abolafia, 2/19/2020

    1        Q.     Under authorized representative?
    2        A.     Yes.
    3        Q.     Okay.    And the date here is January 25,
    4   2007.     Does that refresh your recollection as to
    5   when you applied for membership at La Costa?
    6        A.     Yes.
    7        Q.     So I understand your testimony today is
    8   this is not your signature on this document;
    9   correct?
   10        A.     You know, I don't want to say that.              It
   11   doesn't look like my signature.              It's not even
   12   close to my signature.
   13        Q.     Let me ask you, do you recall signing
   14   anything when you applied for a membership?
   15        A.     Yes.
   16        Q.    Was it a document entitled application?
   17        A.     Yes.
   18        Q.     So here this signature, your testimony
   19   today is that it doesn't look like your signature.
   20   Does that mean that it -- could it be your
   21   signature at that time?
   22        A.     I don't know how to answer that.
   23              MR. PECORA:       If you have -- you know,
   24   honestly speaking it could be your signature and
   25   it could not be your signature.              It could be both.



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    1        Q.     So you may have seen this document
    2   before but, as you sit here today you don't
    3   remember?
    4        A.     I don't remember.
    5        Q.     Do you have an understanding as to
    6   whether the golf club has rules and regulations?
    7        A.     Absolutely.
    8        Q.     And I assume you would have had that
    9   understanding on January 25, 2007 when you applied
   10   to be a member; correct?
   11        A.     Yes.
   12        Q.     And would you agree with me that as part
   13   of being a member of La Costa you would be subject
   14   to those rules and regulations?
   15        A.     Yes.
   16        Q.     Okay.     Do you have any understanding --
   17   I think you would also agree with me that rules
   18   and regulations may also be changed or be amended
   19   over time; correct?
   20               MR. PECORA:      Calls for a legal
   21   conclusion.        Go ahead and answer the question if
   22   you can.
   23        A.     Yes.     But not without notification.
   24   BY MR. GREEN:
   25        Q.     Fair enough.       And with that notice,



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    1   would you agree with me that you would be subject
    2   to amended rules and regulations?
    3        A.   As long as I agree upon them, yes.
    4        Q.   Okay.     As you sit here today do you
    5   recall ever receiving a physical copy of the rules
    6   and regulations from La Costa?
    7        A.   I don't recall that.
    8        Q.   Do you recall ever asking the club for a
    9   copy of the rules and regulations?
   10        A.   I don't remember that.            And I probably
   11   wouldn't have.
   12        Q.   Why do you say you probably wouldn't
   13   have?
   14        A.   Because I have been a member of many
   15   clubs and most clubs are very similar.
   16        Q.   Okay.     So I think you testified earlier
   17   once you became a member in 2007 you golfed
   18   roughly two or three times a week?
   19        A.   Yes.
   20        Q.   Okay.
   21        A.   Let me clarify if you don't mind.
   22        Q.   Yes.
   23        A.   Because I went back and forth, I can't
   24   say every week.      When I was in town, yes.
   25        Q.   What's the process when you would -- for



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                             Allen Abolafia, 2/19/2020

    1        Q.   Yes, please.
    2        A.   So there's a lot of guys that have been
    3   members of the club for a long time and they have
    4   standard tee times.        And they have a group, even
    5   though they're members of the -- like, for
    6   example, on Saturday they have men's days.                  But
    7   men's day isn't one group.           There could be 20
    8   groups within that men's day.            So what I would do
    9   is I would send a text message to the guy who led
   10   the group like Jerry Noskowitz.             So Jerry has his
   11   own game and he sends me a text message are you in
   12   this week.    And I would say yes, and then I would
   13   just show up.
   14        Q.   I see.     That's generally how it works
   15   even -- is that how it still works today?
   16        A.   Yes.
   17        Q.   So between January 2007 through let's
   18   say January 2017, do you have any idea how many
   19   times you played at La Costa on either course?
   20        A.   Total?
   21        Q.   Total for that 10-year period.
   22        A.   Five hundred rounds.           Just a guess.
   23        Q.   Sure.
   24             MR. PECORA:       Let me explain the
   25   difference between a guess and an estimate.                 A



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    1   guess is when you have no idea an estimate.
    2                THE WITNESS:       I have no idea.
    3               MR. PECORA:       An estimate is when you
    4   think you played twice a week for 52 weeks a year,
    5   that's a hundred and you multiply that times five
    6   years.      That's an estimate.
    7          A.    I have no idea.        But I'm going to say
    8   500 times.
    9   BY MR. GREEN:
   10          Q.    Between playing -- the south center
   11   course is called Legends; correct?
   12          A.    Yes.
   13          Q.   What's the northern course called?
   14          A.    Uh --
   15               MR. PECORA:       Champions.
   16          A.    Champions.
   17   BY MR. GREEN:
   18          Q.   As far as whether you played between the
   19   two courses generally, is it 50/50 or is it --
   20          A.    50/50.
   21          Q.    Is there a course you prefer over the
   22   two?
   23          A.    No.
   24          Q.   As you approach the seventh hole on the
   25   Legends course, do you recall they're formerly



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                              Allen Abolafia, 2/19/2020

    1   being a wooden bridge there?
    2        A.     I didn't recall what the bridge was.
    3   But now that you're saying it, yes.
    4        Q.     So you recall there's a wooden bridge.
    5   Do you recall -- this is on the golf cart path;
    6   correct?
    7               MR. PECORA:      Can we have an
    8   understanding that you're talking about the wooden
    9   bridge just before the seven tee box?
   10               MR. GREEN:      Yes.    Thank you for being
   11   more specific, yes.
   12        A.     Yes.
   13   BY MR. GREEN:
   14        Q.     It was on the golf cart path; correct?
   15        A.     Yes.
   16        Q.     Do you recall that bridge washing out at
   17   some point?
   18        A.     Yes.
   19        Q.     Do you recall approximately when that
   20   occurred?
   21        A.     You know, I thought it was about 2017 or
   22   2018.
   23        Q.     Okay.
   24        A.     Probably close to 2018.
   25        Q.     Do you recall how long after that



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    1   guest.
    2        Q.     So you join the group and just go golf
    3   with them without checking in?
    4        A.     Yes.
    5        Q.     There's two invoices here.              One says
    6   Member Guest Legends August 29th, $85 is the first
    7   page.     The second one is Member Round Legends,
    8   August 29, 2018 with zero charge.                 So I'm assuming
    9   the second page covers your round of golf which
   10   you get for free because you're a member?
   11        A.     Yes.
   12        Q.    And on this particular day, August 29,
   13   2018, you would have brought a guest with you; is
   14   that correct?
   15        A.     Yes.
   16        Q.     The $85 is his or her green fee?
   17        A.     Yes.
   18        Q.     The date of the -- hold on one second.
   19   I will show you next order Exhibit 9.                 Have you
   20   ever seen this document before?
   21        A.     Yes.
   22               (WHEREUPON, THE ABOVE-MENTIONED DOCUMENT
   23   WAS MARKED AS EXHIBIT NO. 9 TO THE TESTIMONY OF
   24   THE WITNESS AND IS ATTACHED HERETO.)
   25   BY MR. GREEN:



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    1        Q.   And what is this document?
    2        A.   This is a receipt.
    3        Q.   Do you know what it's a receipt for?
    4        A.   It's a receipt for a guest.              Guest fee.
    5        Q.   On August 29, 2018?
    6        A.   Yes.
    7        Q.   Okay.     Is this a receipt that -- when
    8   you did bring a guest, would you typically be
    9   given a receipt for their green fee?
   10        A.   No.
   11        Q.   So you said you've seen this document
   12   before.   When and where did you see this document?
   13        A.   Well, I get it in my bill.
   14        Q.   So the receipt is included in your bill?
   15        A.   Yes.
   16        Q.   Are those monthly bills that you get?
   17        A.   Monthly bills, yes.
   18        Q.   Okay.     So I assume it runs -- for
   19   example, here this is August.            So August 1st
   20   through August 30th, then you receive a bill in
   21   September?
   22        A.   Yes.    They're behind a month, 30 days.
   23        Q.   Okay.     So this receipt would have been
   24   attached to your monthly invoice for August of
   25   2018?



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                              Allen Abolafia, 2/19/2020

    1        A.     Okay, an estimate.
    2        Q.     I want an estimate, your best estimate?
    3        A.     An estimate I probably played -- I
    4   probably played 130 rounds of golf that year.
    5        Q.     Okay.    And how many of those -- you
    6   testified earlier you probably played half the
    7   time on Legends; is that correct?
    8        A.     I would assume, yes.
    9        Q.    As you sit here today your recollection
   10   is in the year before the incident, so August 2017
   11   to August 2018, you would have played Legends
   12   roughly 65 times; is that correct?
   13        A.     It's 50 to 65 times, yes.
   14        Q.     I'm going to show you what I will mark
   15   next in order Exhibit 10.           Now this is something I
   16   assume that you have not seen before.                 Maybe you
   17   have.     Have you seen this document before?
   18        A.     No.
   19               (WHEREUPON, THE ABOVE-MENTIONED DOCUMENT
   20   WAS MARKED AS EXHIBIT NO. 10 TO THE TESTIMONY OF
   21   THE WITNESS AND IS ATTACHED HERETO.)
   22   BY MR. GREEN:
   23        Q.     Okay.    So I will represent to you this
   24   is a printout from La Costa computer system with
   25   all of the occasions that you golfed at La Costa



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    1   between -- it starts on February 2, 2017 and runs
    2   through December 15, 2018.            Okay?
    3        A.     Okay.
    4        Q.    We can look at the August 2, 2019, 2018
    5   entry, for example.         It has LEG, Legends.             And it
    6   specifies Legends versus Champions.                Do you see
    7   that column?
    8        A.     Yes.
    9        Q.    And it indicates -- it has your name and
   10   others who would part of your foursome.                 Do you
   11   see all that?
   12        A.     Yes.
   13        Q.     Do you have any reason to dispute the
   14   accuracy of the club's records on when you golf at
   15   the course?
   16        A.     No.
   17        Q.     You will note on August 29, 2018 it
   18   identifies you John Hale --
   19        A.     Hold on.
   20        Q.     The very first page.
   21        A.     Okay, sorry.
   22        Q.     It's the fourth one down.             It has John
   23   Hale.     You're listed twice, which I'm assuming is
   24   to cover your guest who you said was Mike Lena; is
   25   that correct?



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    1        A.   Mike Lena.
    2        Q.   And then Gary Hardin.            Do you recall
    3   golfing with those individuals?
    4        A.   On August 20th?
    5        Q.   The 29th.
    6        A.   Okay.     Yes.
    7        Q.   Is that the foursome, including your
    8   guest?
    9        A.   No.     There was one more.
   10        Q.   There was a fifth person?
   11        A.   Yes.
   12        Q.   Who was the fifth person?
   13        A.   The fifth person was Rob Simpson.
   14        Q.   You testified your recollection was it
   15   was roughly 65 times in a prior year that you
   16   would have golfed Legends prior to August 29,
   17   2018; is that correct?
   18        A.   An estimate, yes.
   19        Q.   Your estimate is 65 times?
   20        A.   Yes.
   21        Q.   During that period of time, do you
   22   recall driving over the bridge that is located
   23   before the 7 tee box on the Legends course?
   24        A.   Yes.
   25        Q.   And once that bridge was completed, you



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    1   would have driven the golf cart over that bridge
    2   every time you played the Legends course; correct?
    3         A.    Yes.
    4         Q.    As of August 29, 2018, your recollection
    5   is you would have driven over that bridge roughly
    6   65 times before, approximately?
    7         A.    Yes.
    8         Q.    Okay.    I think it would be fair to say
    9   you were familiar with the bridge at the time as
   10   of August 29, 2018 because you had driven over it
   11   that number of times, approximately?
   12               MR. PECORA:      I'm going to object to the
   13   use of the word "familiar."            Vague and ambiguous.
   14   Go ahead and answer it if you can.
   15   BY MR. GREEN:
   16         Q.    Had you seen the bridge prior to August
   17   29, 2018?
   18         A.    Had I seen the bridge, yes.
   19         Q.    Prior --
   20         A.    Yes.
   21         Q.    And you had seen that there's a culvert
   22   or drainage ditch that goes under the bridge;
   23   correct?     Prior to August 29, 2018?
   24         A.    I don't think that I even thought about
   25   it.



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    1        A.    Blacks.
    2        Q.    The difference between black and white
    3   is just the distance from which you're going to
    4   tee off, distance from the hole you're going to
    5   tee off?
    6        A.    Yes.
    7        Q.    When you play golf at La Costa during
    8   this time period, this one-year period before the
    9   date of the incident, would you typically be the
   10   one driving the golf cart?
   11        A.    Yes.
   12        Q.    Did you pretty much always drive the
   13   golf cart?
   14        A.    No.
   15        Q.    Typically though it would be you?
   16        A.    No.     It's 50/50.
   17        Q.    Okay.     So it varies.       Two people ride in
   18   the cart; correct?
   19        A.    Yes.
   20        Q.    On August 29, 2018, who was driving the
   21   golf cart?
   22        A.    I was.
   23        Q.    Was your guest, Mike Lena, the passenger
   24   of your golf cart?
   25        A.    Yes.



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    1        Q.   And you were playing with you said -- on
    2   that day there's you, Mike Lena, John Hale, Gary
    3   Hardin and Rob Simpson?
    4        A.   Rob Simpson, yes.
    5        Q.   The five of you are playing on that day;
    6   is that correct?
    7        A.   Yes.
    8        Q.   Let me make sure I finish my question,
    9   she will appreciate it.
   10        A.   Yes.
   11        Q.   Okay.     Were all five -- so, you're in a
   12   golf cart.     Where are the other three?             Did they
   13   have a golf cart?
   14        A.   Yes.
   15        Q.   Is the third person sitting in the back
   16   of the golf cart then?         Where is the third person?
   17        A.   They have their own cart.
   18        Q.   So there's three golf carts out that day
   19   with your group?
   20        A.   Yes.
   21        Q.   As you were driving up to the 7 tee box
   22   on August 29th, what number order was your golf
   23   cart when --
   24        A.   Last.
   25        Q.   It was last --



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    1        A.   Yes.    It runs all the way down.
    2        Q.   Do you have an understanding what the
    3   purpose of that curb is?
    4        A.   Yes.
    5        Q.   What's your understanding?
    6        A.   The purpose of the curb is not to drive
    7   the cart on the grass.
    8        Q.   Would you say it's to keep the cart on
    9   the golf cart path?
   10        A.   Yes.
   11        Q.   Do you recall -- so you got your driver
   12   from the back of the golf cart, and then you then
   13   are going -- are you going straight out off the
   14   golf cart path or are you walking up adjacent to
   15   the golf cart path on the passenger side?                   Where
   16   do you walk at that point in time?
   17             MR. PECORA:       Okay.     If you break that
   18   question down I will let you answer, but you had
   19   three questions there.         So start again.
   20   BY MR. GREEN:
   21        Q.   After you grabbed your driver, what
   22   direction are you heading at that point in time?
   23        A.   Towards the tee box.
   24        Q.   So did you walk up next to the -- on the
   25   passenger side of your golf cart?



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    1        A.    Yes.
    2        Q.    Did you walk up past the front of your
    3   golf cart?
    4        A.    No, the back.       Always the back.
    5        Q.    You got your driver from the back of the
    6   golf cart?
    7        A.    Right.
    8        Q.    And did you then go up next to the
    9   passenger side or did you go straight off the golf
   10   cart path at that point in time?             Do you
   11   understand my question?
   12        A.    Yes, I do.
   13              MR. PECORA:      Could you read the question
   14   back for me?
   15              (RECORD READ BY THE COURT REPORTER.)
   16        A.    I went towards -- it's kind of in
   17   between.     I went -- I went left because I was
   18   following Mike who was in the golf cart and he had
   19   already headed towards the -- I was the last one
   20   out of all the carts, okay.           So Mike had already
   21   stepped over, and I just followed Mike's path.
   22   Now Mike went straight out of the cart onto the
   23   tee box.
   24   BY MR. GREEN:
   25        Q.    Okay.    So Mike is in the passenger seat?



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    1        A.   The other three guys were already
    2   hitting the tee shots.
    3        Q.   And Mike wasn't watching them hit?
    4        A.   No.    Because he saw what happened, so
    5   that's how.
    6        Q.   So backing up to you -- after you
    7   grabbed your driver, do you walk along the rest of
    8   the back of the golf cart at that time?
    9        A.   I walk around the golf cart and step
   10   over.
   11        Q.   So you walk, so you would make a left up
   12   the side of the golf cart?
   13        A.   And step over.
   14        Q.   And sort in a diagonal manner would you
   15   step over the --
   16        A.   I would walk straight out because the --
   17   you can actually see the bigger hole -- because
   18   the bigger hole you can actually see that.                  But it
   19   gets smaller and smaller and smaller.                So I went
   20   left kind of like this way to the tee box, and I
   21   caught -- I must have caught the corner of that
   22   hole.
   23        Q.   So there's a drainage ditch or culvert
   24   that's going under the bridge; correct?
   25        A.   Yes.



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    1        Q.     So when you say deeper, you're talking
    2   about the height of the bridge to the level of the
    3   ground; is that correct?
    4        A.     Yes.
    5        Q.     That's what you're meaning by deeper?
    6        A.     Yes.
    7        Q.     So as you get further away from the
    8   center of the bridge the culvert gets more
    9   shallow; correct?
   10        A.     And you can't see it.           And the other
   11   thing was that it wasn't mowed, so the grass was
   12   high.     And if you look at your pictures you will
   13   see that one is mowed and one isn't.
   14        Q.     So when you stepped off the golf cart
   15   path, did you step up on the curb or did you step
   16   over it?
   17        A.     Over it.
   18        Q.     So you did not step on the curb?
   19        A.     I did not step on the curb.
   20        Q.     Okay.    Were you looking down at the time
   21   that you stepped over the curb?
   22        A.     No.
   23        Q.     I'm assuming because you were looking
   24   ahead towards the tee box where you were going; is
   25   that correct?



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    1        A.     Yes.
    2        Q.    And I think you said a moment ago your
    3   guest Mike was looking towards you at the time you
    4   stepped over the curb; is that correct?
    5        A.     Again, I didn't see him because when I
    6   made the step -- I'm just assuming that because he
    7   saw the whole thing.
    8        Q.     So he told you he saw you step over it?
    9        A.     Right.
   10        Q.     So you step over into as you call it the
   11   hole, the culvert area, you step over into it?
   12        A.     Yes.
   13        Q.    What happened next?
   14        A.     I went down.       And I was in a lot of
   15   pain.     I was screaming.
   16        Q.     So when you stepped over what kind of
   17   surface does your foot land on to your correction?
   18        A.     It just went down.         And I felt -- the
   19   only thing I could feel was a pop.                I could hear
   20   it in my head.       And so I knew what it was.
   21        Q.     Is that when your foot ultimately hit a
   22   surface that's when you felt the pop?
   23        A.     When I fell forward.
   24        Q.     So you stepped over and the depth was
   25   more than you anticipated; is that fair to say?



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    1          A.      That's fair to say.
    2          Q.     And is that what caused you to fall or
    3   did your foot hit the ground before you fell?
    4          A.      No.     My foot hit the ground and then I
    5   fell.
    6          Q.      That's what I'm asking.           Your foot made
    7   contact with the ground and then you heard a pop?
    8          A.      Yes.
    9          Q.     Was your foot stuck in any kind of way?
   10          A.      Once I fell it kind of pulled itself
   11   out.        I guess my foot -- I don't know because I'm
   12   in so much pain, I'm not really thinking about
   13   what happened.           But what I was under the
   14   impression was that my Achilles got caught between
   15   the bridge and the ground because there's a space
   16   underneath.           There's nothing filling.
   17          Q.      Just so I'm clear you stepped down and
   18   your foot hits the ground, at some point your foot
   19   hits the ground, makes contact with the ground,
   20   you hear a pop?
   21          A.      Yes.
   22          Q.     And your belief is that your heel got
   23   stuck between the ground and the under side of the
   24   bridge?
   25          A.      Yes.



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    1             MR. PECORA:       Where are you reading from?
    2             MR. GREEN:       Under the investigation.
    3   It's roughly line 26 of this document.
    4             MR. PECORA:       Go ahead if you understood
    5   the question.     Did you understand the question?
    6        A.   Yes.    Would you repeat it?
    7   BY MR. GREEN:
    8        Q.   Yes.    The question is is that also
    9   consistent with your recollection as to what
   10   occurred at the time of the incident?
   11        A.   Yes.
   12        Q.   Attached to this document, this report
   13   which is dated August 29, 2018, the day of the
   14   incident, you will see a photograph.               Do you see
   15   that?
   16        A.   Yes.
   17        Q.   Now that's your golf cart; correct?
   18        A.   Yes.
   19        Q.   That is the location of where it was
   20   parked at the time you exited it; correct?
   21        A.   Yes.
   22        Q.   And if I could ask you if you could
   23   draw -- you take a pen.         Can you draw a circle for
   24   me on where you recall stepping off the curb?
   25        A.   (Witness complies.)



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    1        Q.     Just let the record reflect that
    2   Mr. Abolafia has drawn a circle in blue Sharpie on
    3   the third page, in the photograph on the third
    4   page of Exhibit 11.         Mike Lena how many times do
    5   you think you had golfed with him at La Costa
    6   prior to the incident?
    7        A.     That was the first time.
    8        Q.     Have you golfed with him since the
    9   incident?
   10        A.     No.     He has played golf because he went
   11   out and played with my friends.              He was here on
   12   vacation.     So he played a couple more rounds
   13   there.    But that was his first time ever playing.
   14        Q.     Is he a friend of yours?
   15        A.     Yes.     High school.
   16        Q.     High school friend?
   17        A.     Yes.
   18        Q.     I'm going to show you another
   19   photograph.        This is Exhibit 12.        Can you tell me
   20   what's depicted in Exhibit 12?
   21        A.     I couldn't give you an answer.
   22               (WHEREUPON, THE ABOVE-MENTIONED DOCUMENT
   23   WAS MARKED AS EXHIBIT NO. 12 TO THE TESTIMONY OF
   24   THE WITNESS AND IS ATTACHED HERETO.)
   25   BY MR. GREEN:



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    1        Q.   And I think you already testified to the
    2   area that's the browner area.            Do you see that?
    3        A.   Yes.
    4        Q.   That brown area that's depicted in the
    5   photograph is the same brown area that's in the
    6   prior photograph --
    7        A.   Yes.
    8        Q.   Let me finish.        The same area that's in
    9   the prior photograph; correct?
   10        A.   Yes.
   11        Q.   Next Photograph 7.          Is that the same
   12   area?
   13        A.   Yes.
   14        Q.   It almost looks like an identical
   15   photograph?
   16        A.   Yes.
   17        Q.   Next, Photograph 8.           What's depicted in
   18   Photograph 8?
   19        A.   It's just taken further down.
   20        Q.   It looks similar to one I think we've
   21   already seen?
   22        A.   Yes.
   23        Q.   Photograph 9.        Do you know what's
   24   depicted in Photograph 9?
   25        A.   Yes.    This is the actual picture taken



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    1   when it happened.
    2        Q.     So you took a photograph when it
    3   happened?
    4        A.     Yes.
    5        Q.     So can you tell me when you took the
    6   photograph roughly in conjunction of when you
    7   fell?
    8        A.     Okay.     Actually I didn't take it me
    9   personally.        Mike took it.
   10        Q.     So Mike took this photograph?
   11        A.     Yes.
   12        Q.     On the date of the incident?
   13        A.     Yes.
   14        Q.     Did you see him take the photograph?
   15        A.     No.
   16        Q.     But your understanding from him is that
   17   that's what this photograph is?
   18        A.     Yes.
   19        Q.     Is this the spot where you stepped off
   20   over the curb?
   21        A.     Yes.
   22        Q.     Did you show Mike at some point where
   23   you stepped over the curb?
   24        A.     He saw it.
   25        Q.     So based on what -- where was he



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    1   Photograph 14 because I didn't ask you that.
    2        A.     Just pretty much the same.                An original
    3   picture.
    4        Q.     If I look off to the right there's a
    5   little --
    6               MR. PECORA:      What do you have for 14?
    7               MR. GREEN:      This one.
    8   BY MR. GREEN:
    9        Q.     After the yellow page we went to 12.
   10        A.     You're talking about 14?
   11        Q.     I'm talking to you about 14.
   12               MR. PECORA:      I'm sorry, I think I
   13   screwed up.
   14               MR. GREEN:      That's 12.       With the seventh
   15   hole side that's 12.         This one is 13.            Photo 14
   16   now --
   17               MR. PECORA:      I apologize.         I
   18   discombobulated myself.          Excuse me.
   19   BY MR. GREEN:
   20        Q.     Can you tell me what's depicted in
   21   Photograph 14?       I think you did but --
   22        A.     Pretty much the same thing.                The
   23   original picture.        No red mark.
   24        Q.     Could you take your blue Sharpie, could
   25   you draw a circle for me on the location where you



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    1   stepped over the curb?
    2        A.    (Witness complies.)
    3        Q.    Can I take a look?
    4        A.    Uh-huh (affirmative response).
    5        Q.    Okay.     So my understanding from -- we
    6   can take photograph 14.         You stepped over the curb
    7   with your left foot; correct?
    8        A.    Yes.
    9        Q.    And you stepped in the location where
   10   that circle is; correct?
   11        A.    Yes.
   12        Q.    Okay.    At the time you stepped over the
   13   curb you were looking over at the tee box;
   14   correct?
   15        A.    Yes.
   16        Q.    Now I see a little -- I'm going to point
   17   to it with my pen.       What's that?
   18        A.    That's the tee box.
   19        Q.    Is that black color?
   20        A.    No.     That's blue.
   21        Q.    That is blue?
   22        A.    Yes.
   23        Q.    That's where the expert location is
   24   blue?
   25        A.    Black is further back.



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    1   if you go to five.
    2   BY MR. GREEN:
    3         Q.   Okay.
    4         A.   You see how mowed it is here, that's why
    5   you're seeing dead grass, okay.             And if you look
    6   here you will see -- if you really look close you
    7   will see sprouts coming up because it wasn't
    8   mowed.
    9         Q.   The sprouts that are down in the hole?
   10         A.   Yes.
   11         Q.   Your testimony is when you went back
   12   four days later, which is when Photograph 5 as
   13   part of Exhibit 12 was taken, the grass was more
   14   mowed than it was --
   15         A.   Yes.
   16         Q.   More mowed than it was on the date of
   17   the incident?
   18         A.   Yes.
   19         Q.   But you would agree with me that on the
   20   date of the incident the photograph attached to
   21   the incident report you can see the hole; correct?
   22         A.   Absolutely.      I mean, I can --
   23         Q.   I think we just have one more photograph
   24   17.    Does this depict the same area that we've
   25   been discussing?



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    1   discovery responses.
    2   BY MR. GREEN:
    3        Q.   Is that your handwriting the date
    4   September 4, 2019?
    5        A.   Yes.
    6        Q.   Would you have signed on that day?                Did
    7   you sign on that day?
    8        A.   Yes.
    9        Q.   So your testimony is that that
   10   signature -- that you signed these two pages on
   11   September 4, 2019?
   12        A.   Yes.
   13        Q.   Okay.     So if you look at that, if you
   14   could pull up Exhibit 4 again.             If you turn to the
   15   last page of Exhibit 4, you see that?
   16        A.   Yes.
   17        Q.   So I just want you to look at the
   18   signatures here.      Now going back again and looking
   19   at Exhibit 4 that signature, has your testimony
   20   changed at all as to whether that's your signature
   21   or not?
   22        A.   It doesn't look like my signature.
   23        Q.   So just for clarification is your
   24   testimony that it doesn't look like it or it
   25   affirmatively is not your significant?



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    1        A.   I think I said before it doesn't look
    2   like my signature.
    3        Q.   When you say it doesn't look like it
    4   that's not saying the same thing as saying it's
    5   not my signature.
    6             MR. PECORA:       Are you suggesting that he
    7   said that earlier today it's not my signature?
    8             MR. GREEN:       I'm not a hundred percent.
    9             MR. PECORA:       We can read the record back
   10   because --
   11             MR. GREEN:       I don't need to read the
   12   record.   I want to be clear.           I'm not clear on it.
   13   So I want to be crystal clear.
   14        A.   I said earlier that it does not look
   15   like my signature.       And I know that this is not --
   16   I did not date it.       For sure that's not mine.                And
   17   if you take a really good look my F, I mean, it's
   18   not even close.      It looks like somebody tried to
   19   copy this.    I mean, you could take a look and --
   20   I'm not sure.
   21   BY MR. GREEN:
   22        Q.   You're not sure of what?
   23        A.   That this is my signature or not.                 But
   24   when I look at it, it doesn't look like my
   25   signature.



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